      Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 1 of 13 Page ID #:20
                                                                                  FILED
                                                                        CLERK, U.S. DISTRICT COURT


                                                                             05/13/2014

                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                               AP
                                                                        BY: ___________________ DEPUTY




                                                                   CBM(CWx)


N/S
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 2 of 13 Page ID #:21
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 3 of 13 Page ID #:22
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 4 of 13 Page ID #:23
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 5 of 13 Page ID #:24
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 6 of 13 Page ID #:25
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 7 of 13 Page ID #:26
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 8 of 13 Page ID #:27
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 9 of 13 Page ID #:28
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 10 of 13 Page ID #:29
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 11 of 13 Page ID #:30
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 12 of 13 Page ID #:31
Case 2:14-cv-03387-CBM-CW Document 3 Filed 05/13/14 Page 13 of 13 Page ID #:32
